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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

SECURITIES AND EXCHANGE
COMMISSION,
                      Plaintiff,
V.                                                   Civil Action No. 12-12324-MLW

BIOCHEMICS, INC., JOHN J. MASIZ,
CRAIG MEDOFF and GREGORY S.
KRONING,

                      Defendants.



                                    4-3-18 JOINT REPORT
                 Pursuant To The Court's 3-23-18 Order (Doc. #412) par. 3

       Pursuant to the Court's March23,2018 Order(Doc. #412)par. 3, the Commission and

BioChemics report as follows:

1.     The Court in its 3-23-18 Order (Doc. #412) par. 3 directed: "The parties shall, byApril 3,

2018, confer andreport concerning theremaining issues for thecourt."

2.     Pursuant to the Court's directive, the Commission andBioChemics conferred and

discussed, in general terms: the present status ofBioChemics' efforts to satisfy the Judgment; the
likely time frame in which the intended Transaction, reported and discussed at the 3-22-18
Hearing and described in further detail in BioChemics' 3-29-18 Status Report, should
consummate; the process for providing substantive reports regarding the Transaction s progress,
certain issues concerning the distribution process; and the process inthe event that the
Transaction does or does not result in satisfaction of the Judgment by the date intended.

3.     The Commission andBioChemics report that BioChemics shall provide weekly email

reports to the Commission as to the status and progress ofthe Transaction and the efforts to
 secure payment ofthe Judgment by the week ofMay 21,2018. BioChemics shall review the
